                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

OYSTER OPTICS, LLC,                                §
                                                   §
                                                   §   CIVIL ACTION NO. 2:16-CV-01302-JRG
                  Plaintiff,                       §
                                                   §
v.                                                 §
                                                   §
CORIANT (USA) INC., CORIANT NORTH                  §
AMERICA,     LLC,         CORIANT                  §
OPERATIONS, INC.,                                  §
                                                   §
                  Defendants.                      §

           ORDER ON MOTIONS TO COMPEL AND MOTION FOR SANCTIONS

           On March 8, 2018, the Court held a hearing on Plaintiff’s Motion to Compel Defendant

Infinera Corporation (“Infinera”) (Dkt. No. 206), Plaintiff’s Motion to Compel Cisco Systems Inc.

(“Cisco”) (Dkt. No. 205), and Defendants’ Motion for Discovery Sanctions under Fed. R. Civ. P.

37 (Dkt. No. 241). Having heard argument from all interested Parties on the motions the Court

finds and holds as follows:

     I.       Plaintiff’s Motion to Compel Defendant Infinera

           Plaintiff represented and Defendant Infinera agreed on the record in open court that

Plaintiff had agreed to withdraw its Motion to Compel Defendant Infinera. Accordingly, the

Motion (Dkt. No. 206) is hereby ORDERED WITHDRAWN.

     II.      Plaintiff’s Motion to Compel Cisco

           The Court heard argument regarding Plaintiff Oyster Optics LLC’s (“Oyster”) Motion to

Compel Cisco. (Dkt. No. 205). In short, Plaintiff argues that Cisco should be compelled “to make

narrowly tailored productions of financial information concerning products that Oyster alleges
infringe its patents,” specifically “revenue information for CFP2 modules . . . and for related

products that are not useable without them.” (Dkt. No. 205 at 1). The central issue in dispute

between the Parties is whether these CFP2 modules and the related products for which Oyster

seeks discovery of financial information are properly in the case.

       The Parties do not dispute that Oyster clearly identified the products in its complaint. (See

e.g., 2:16-cv-1301, Dkt. 1 ¶¶ 72 (“the Accused Instrumentalities designed in accordance with the

OIF CFP2 ACO Standard contain a transmitter (Tx Coherent Optics) with a laser, a modulator,

and a driver which is configured to receive input data and control the modulator to generate a first

optical signal as a function of the input data.”), 87 (“On information and belief, the 100G Accused

Instrumentalities are also designed in accordance with the OIF CFP2 ACO Standard.”)).

       The Parties also agree that if the Accused Instrumentalities properly in the case include

products designed in accordance with the OIF CFP2 ACO Standard, then Cisco is obligated to

produce the financial information sought by Oyster. (Hearing Tr. 16:7–13 (Court: “[I]f they've

been disclosed and claimed, I think you're going to have to produce this spreadsheet.” Mr. Gaudet:

“I tell you what, Your Honor, we agree completely.”).

       However, the Parties dispute whether the CFP2 products remain in the case. Plaintiff

argues that they were properly plead and were clearly identified in the Infringement Contentions.

Cisco argues that the Plaintiff abandoned these previously identified CFP2 products, effectively

removing them from the case when it elected to not include them in its Infringement Contentions.

       The Court has reviewed the Infringement Contentions (Dkt. No. 254 Ex. 1). The Court

notes that the Accused Products are listed, generally, at the beginning to the Infringement

Contentions contained in Exhibits A through G, as follows:

       Oyster asserts that the Asserted Claims are infringed by the various systems,
       apparatuses, services, and methods made, used, sold, offered for sale, imported, or

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         supplied by Defendant related to fiber optic data transmission, including but not
         limited to, the and the ONS 15454 100-Gbps CP-DQPSK Full C-Band Tunable
         DWDM Trunk Card, ONS 15454 40Gbps CP-DQPSK Full C-Band Tuneable
         Transponder Card, NCS 2000 200-Gbps Multirate DWDM Line Card, and NCS
         2000 100-Gbps DWDM Line Card with Soft Decision FEC products, as well as the
         compatible chassis in which they are installed, including, without limitation, the
         CRS-1, CRS-3, and CRS-X, ONS 15454 Series Multiservice Transport Platform,
         and Network Convergence Systems chassis (“Cisco Accused Instrumentalities”).

(Id. at 2–3). The Court does not find, and Plaintiff did not argue, that there is any mention

of the CFP2 products among the general characterization of the Accused instrumentalities.1

         The Plaintiff, during argument, directed the Court to various parts of its

Infringement Contentions where the OIF-DPC-MRX Standard and the OIF-CFP-ACO

Standard are mentioned. The Court has reviewed these portions of the infringement

contentions to which the Plaintiff directed the Court during its argument. The Court

concludes that such references to the standards alone are insufficient to meet the

requirements of P.R. 3-1 which requires a plaintiff identify “each accused apparatus,

product, device, process, method, act or other instrumentality” “as specific[ally] as

possible.” This level of specificity is not met by Plaintiff’s mere reference to standards.

This, if deemed adequate, would require a defendant to ascertain which precise products

are covered by the standard and, essentially infer the specific identity of accused

instrumentality.       Indeed, P.R. 3-1 requires the Plaintiff to identify the accused

instrumentalities “by name or model number, if known.” Plaintiff could have done this,

but it did not. When they did not, Defendants acted reasonably in assuming such products

were no longer in the case.




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 A similar general characterization of the accused instrumentalities appears at the beginning of Exhibit G. Again, no
mention of the OIF CFP2 ACO Standard Instrumentalities is included.

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          The Court finds that Oyster effectively removed the CFP2 products from the case

by not including adequately disclosing specifically in their infringement contentions.

Categorical disclosure alone is insufficient when precise disclosure is mandated under P.R.

3-1. Accordingly, the Court DENIES Plaintiff’s Motion to Compel Cisco (Dkt. No. 205).

   III.       Defendants’ Motion for Discovery Sanctions under Rule 37

          The Court also heard argument on Defendants’ Motion for Discovery Sanctions

under Fed. R. Civ. P. 37. (Dkt. No. 241). In short, Defendants seek a curative jury

instruction and various evidentiary findings imposed by the Court to address an alleged

prejudice arising from the late disclosure of an existing valuation report as to the asserted

patent portfolio. Plaintiff argues that not only was the valuation in question not within the

control of Oyster, its production, albeit late, was the result of extreme efforts by Plaintiff

which exceeded the requirement of ordinary due diligence. Plaintiff also argues that the

valuation is only marginally relevant, if at all, and, as a result, the Defendants have not

been materially prejudiced.

          Briefly, the Court is persuaded that the facts underlying this Motion are as follows:

             Over the course of fact discovery, Defendants sought information on whether

              Oyster had ever made or had caused to be made a valuation of the patents-in-

              suit or related patents on multiple occasions, through interrogatories, emails,

              and meet-and-confers. Oyster consistently denied any knowledge of such a

              valuation. (See, generally, Dkt. No. 241 at 2–3).

             Defendants served subpoenas on Oyster Inc. seeking the same information.

              Oyster Inc. is a 25% non-managing member of Oyster (the LLC). Oyster Inc.

              is comprised of five shareholders.       There is some overlap between the


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    shareholders of Oyster Inc. and the managing members of Oyster. Oyster Inc.,

    like Oyster, did not produce any valuation or any information relating to the

    existence of a valuation. (Id. at 3–4).

   Defendants deposed Mr. Seth Page, CEO of Oyster Inc. on the last day of fact

    discovery. During this deposition, it came to light that there was a “box” of

    potentially relevant documents that did not appear to have been produced.

    Following this discovery, a new round of searching was requested by the

    Defendants, including information relating to any valuation of Oyster’s

    technology, and Plaintiff’s counsel produced a spreadsheet with a line item

    entitled “Valuation” with a corresponding entry of $330,000. (Id. at 4).

   Following continued discovery, after the close of fact discovery, it was revealed

    that WTAS Valuation Services Group was previously retained by Oyster Inc.

    to produce a valuation. Mr. Isaac Foster, CFO of Oyster Inc., who’s deposition

    was being taken during the production of this information, was asked about the

    valuation discussed in the produced documents. Mr. Foster confirmed that

    WTAS Valuation Services would have generated a written valuation and that

    he would have received a copy. (Id. at 5).

   Defendants served a subpoena on WTAS seeking the valuation. Oyster did not

    seek to quash the subpoena and WTAS produced its valuation which concluded

    for tax purposes, as of January 1, 2010, the Oyster Inc. patent portfolio had a

    fair market value of $330,000. Along with the eight year old valuation, WTAS

    also produced handwritten notes (“the Notes”), allegedly based on a phone call

    between WTAS and Mr. Foster. (Id. at 6).


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          The Notes, which refer to settlements used to support the valuation result as

           recoveries based on “nuisance” value, appear to be the core of the dispute

           between these parties.

       The Plaintiff has previously offered, and offered again during the hearing, to agree

(with the Court’s approval) to reopen discovery for the purpose of Defendants taking

depositions of Mr. Foster and a representative of WTAS on issues surrounding the

valuation and Notes. (Hearing Tr. 3/8/18 at 60:17–24 (“THE COURT: Have you offered

to provide depositions? MR. MIRZAIE: Absolutely, Your Honor. So we got Foster, the

third party who agreed to open up his depo, our client will open up his depo, and we've

offered that, and even WTAS, we have no control over them, but there's no evidence that

they would refuse a depo. They took on the document subpoena.”). Defendants have not

accepted such offer, and appear more focused on securing sanctions rather than mitigating

the prejudice upon which their sanctions motion is based.

       Additionally of note is the fact that the Defendants experts have already been able

to examine and comment on the valuation. (Id. at 44:13–18 (“THE COURT: Did you get

them and did your experts address them in the rebuttal reports? MR. JAMESON: Our

expert -- yes, Your Honor, our expert have -- have provided comments on [] the valuation,

yes.”). It is apparent that this examination and comment is not likely to be as complete or

thorough as it would be had the WTAS valuation been produced earlier in time.

       This level of prejudice does not, however, seem to the Court to be incurable.

Indeed, coupled with Plaintiff’s willingness to reopen discovery for the purpose of

deposing Mr. Foster and/or WTAS, the Court believes that such prejudice can be

effectively remedied by the Defendants.



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       The Court does not find that there is any manifest bad faith on the part of the

Plaintiff. The Court does believe that Defendants have raised questions regarding why this

valuation document was not clearly recalled or turned over during ordinary discovery.

Paired with the other discovery issues discussed by the Defendants in their Motion, (see,

Dkt. No. 241 at 7 (“this is not the only time that Plaintiff has made a post-discovery

production of documents it had previously stated did not exist.”)), the Court reminds all

Parties that there are potential consequences stemming from litigation conduct that is, or

becomes, exceptional.

       On the whole, the Court finds that the Defendants’ Motion for Discovery Sanctions

should be, and hereby is, DENIED as to the requested relief. However, the Court

ORDERS the following remedial actions be undertaken forthwith:

           a. Discovery related solely to the issue of the WTAS valuation is hereby

              REOPENED for the additional steps set forth below;

           b. The Plaintiff will make Mr. Foster available for deposition by the

              Defendants, who may depose him for up to four (4) hours limited topically

              to such valuation;

           c. The Defendants are permitted to take the deposition from a representative

              of WTAS relating to the WTAS valuation and the Notes. Such deposition

              shall not exceed four (4) hours in duration and is limited typically to such

              valuation;

           d. The Defendants’ experts will be permitted to supplement their reports in

              regard to such valuation following completion of this targeted discovery,




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          with such supplementation being completed and served within ten (10) days

          of the completion of the last such deposition;

       e. The Plaintiff SHALL REIMBURSE Defendants for the reasonable and

          necessary costs associated with such depositions, but not to exceed $5,000;
.
          and,

       f. Plaintiff will reasonably cooperate to assist in promptly facilitating such

          targeted discovery. Plaintiff and Defendants will undertake more consistent

          and effective efforts, hereafter, to meet, confer, and communicate in a

          renewed effort to avoid and resolve disputes throughout the remainder of

         this case.
     SIGNED this 19th day of December, 2011.
    So ORDERED and SIGNED this 12th day of March, 2018.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE




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